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COMES NOW, Plainl'if'£" BEACHBODY, I_..],C (hcreinai"ter “Plalimifi"’"), 10
hereby file its Complaint' against De£`endant DAVID TRIPLE'I`T, and DO`[`:`S I»lU

inclusive (c:c)flec-l'ive!y “Dc'f`endams").

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PARTIES

1. Plaintif`f` is now, and was at the time of the filing of this Cornplaint
and at all intervening times, a Delaware Limited Liability Company, duly
authorized and licensed to conduct business in California, with its principal place
of business in Santa Monica, California.

2. Plaintiff is informed and believes that Defendant DAVID TRIPLETT
is now, and was at the time of the filing of this Complaint and at all intervening
times, an individual residing in Charleston, Illinois.

3. The true names and capacities, whether individual, corporate,
associate or otherwise, of Defendants herein named as DOES 1-10, inclusive, are
unknown to Plaintiff. Plaintiff therefore sues said Defendants by such fictitious
names. When the true names and capacities of said Defendants have been
ascertained, Plaintiff will amend this pleading accordingly.

4. Plaintif`f further alleges that Defendant DAVID TRlPLETT, and
DOES 1-10, inclusive, sued herein by fictitious names are jointly, severally and
concurrently liable and responsible with the named Defendants upon the causes of
action hereinafter set forth.

5. Plaintiff is informed and believes and thereon alleges that at all times
mentioned herein Defendant DAVID TRlPLETT, and DOES 1-10, inclusive, and
each of them, were the agents, servants and employees of every other Defendant
and the acts of each Defendant, as alleged herein, Were performed within the
course and scope of that agency, service or employment

JURISDICTIONAL ALLEGATIONS

6. This Court has Federal subject matter jurisdiction over this matter
pursuant to 28 U.S.C. §§1331 and 1338(a) and (b), in that the case arises out of
claims for trademark infringement, false designation of origin, unfair competition
and dilution under the Lanham Act (15 U.S.C. §1051 et seq.), and copyright
infringement under 17 U.S.C. §501(a); and this Court has supplemental jurisdiction

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pursuant to 28 U.S.C. §§1367(a) and 1338 (a)(b).

7. Venue is proper, inter alia, pursuant to 28 U.S.C. §1391(b) because
on information and belief, a substantial part of the events or omissions giving rise
to the claim occurred in this judicial district, and has caused damages to Plaintiff in
this district.

8. Personal jurisdiction exists over Defendants because on information
and belief, Defendants conduct business in California and in this judicial district,
have purposefully directed action to California and this district, or have otherwise
availed themselves of the privileges and protections of the laws of the State of
California, such that this Court’s assertion of jurisdiction over Defendants does not
offend traditional notions of fair play and due process.

GENERAL ALLEGATIONS
Plaintii`f and its Famous BEACHBODY® FitneSS Products and Services

9. Plaintif`f is a health, wellness and fitness company involved in, among
other things, the development, production, sale, and distribution of in-home fitness,
weight loss, and health products and services.

10. One of the main components of Plaintiff’s business encompasses the
production, sale and distribution of its BEACH'BODY® family of fitness DVDs
and kits, including its famous FOCUS T25® fitness DVDS and kits. Plaintiff‘s
BEACHBODY®- and FOCUS T25®-branded products and services have
achieved great success since their introduction in 1999 and 2013, respectively

11. The success of Plaintiff’s BEACI-[BODY and FOCUS T25 products
and services is due in part to Plaintiff`s marketing and promotional efforts. These
efforts include advertising and promotion through Plaintiff’s websites, print and
other intemet-based advertising, in-person and televised promotional appearances
by its trainers, and its infomercials, among other efforts Plaintiff has spent
substantial time, money and effort in building up and developing consumer
recognition, awareness and goodwill in its BEACHBODY and FOCUS 125

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products, services and marks, For example, Plaintiff has spent close to one
hundred million dollars ($100,000,000.00) to air its television infomercials in each
of 2009, 2010, 2011, 2012, and 2013. On each FOCUS T25 exercise kit, in each
infomercial, and in each piece of marketing material for FOCUS T25 products, the
BEACHBODY® marks are prominently displayed along with the FOCUS T25 (on
the FOCUS T25 products) marks.

12. The success of the FOCUS T25 DVDs, kits and other products and
services is not due to the Plaintiff’s promotional efforts alone. Rather, the
popularity of FOCUS T25 is also due to its consumers, and the word of mouth
buzz consumers have generated. Success stories of countless individuals who have
utilized FOCUS T25 to help achieve their respective fitness goals are far too
numerous to recount, but include stories from ali types of people ranging from
your average men and women in almost all age groups, to well-trained professional
athletes and celebrities looking to stay fit and in shape. In fact, a wide array of`
newspapers, magazines and television networks has featured stories in which
prominent celebrities and professional athletes have enthusiastically described their
experience and success with the FOCUS T25 kits.

13. As a result of Plaintiff"s efforts, the quality of Plaintiff’s products, and
the promotion and word of mouth buzz, the BEACI-]BODY® and FOCUS 125®
marks and the BEACI-IBODY® and FOCUS T25® DVDs, products, and services
have been prominently placed in the minds of the public. Consumers, purchasers
and the members of the public have become familiar with the Plaintiff’s fitness
DVDs and other products and services, and have come to recognize the
BEACHBODY and FOCUS T25 marks, products and services and associate them
exclusively with Plaintiff - Plaintiff has acquired a valuable reputation and
goodwill among the public as a result of such association Indeed, the
BEACHBODY and FOCUS T25 marks are famous in the United States.

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14. In addition to the above, Plaintiff also owns or otherwise controls
copyrights in and related to the FOCUS T25 exercise kits. Plaintiff"s rights protect
the entirety of the kit as well as the many works therein.

15. While Plaintiff has gained significant common law trademark and
other rights in its BEACHBODY and FOCUS ”1`25 products and services through
its use, advertising and promotion, Plaintiff has also protected its valuable rights by
filing for and obtaining federal trademark and copyright registrations

16. Plaintiff owns the following United States Trademark Registrations
for the “FOCUS T25” marks: U.S. Reg. Nos. 4404411; and 4412310. These are
attached hereto as Exhibits A - B.

17. Similarly, Plaintiff owns the following U.S. trademark registrations
for its “BEACI-IBODY” related marks: U.S. Reg. Nos. 2665151; 2853244;
2862904; and 2873866. These are attached hereto as Exhibits C - F.

18. Plaintiff also owns several United States Copyright Registrations
relating to its BEACHBODY exercise kits, including a copyright application
pending before the U.S. Copyright Office for registration of the FOCUS 125 Kit.

19. _ Plaintiff has never authorized or consented to the use of
BEACHBODY® or FOCUS T25® or any confusingly similar marks by
Defendants; nor has Plaintiff authorized Defendants to manufacture, copy, offe for
sale, sell, or distribute any BEACHBODY or FOCUS T25 product.

Defendants’ Wrongful and lnfringing Conduct

20. Particularly in light of the success of Plaintiff and Plaintiff"s products
as well as the reputation they have gained, Plaintiff and its products have become
targets for unscrupulous individuals and entities who wish to take a free ride on
both the goodwill, reputation and fame Plaintiff has spent considerable time,
money and effort to build up in its products and marks, and the works embodied in
Plaintiff’ s fitness products
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21. A large number of these individuals and entities deal in pirated and
counterfeit BEACHBODY®-branded DVDs and other products and services,
including the famous BEACI-IBODY® FOCUS TZS® products Their actions
vary and include manufacturing, copying, exporting, importing, advertising,
promoting, selling, and distributing counterfeit and otherwise unauthorized
products

22. Plaintiff investigates and enforces against such activity, and through
such efforts learned of Defendants, and Defendants’ actions, advertising, offering
for sale, sale, distribution, and infringing conduct.

23. Defendants use, amongst other things, the Internet website known as
eBay.com (“eBay”) to offer for sale, sell, and distribute products, including
counterfeit fitness DVDS and kits bearing Plaintiff’s BEACHBODY and FOCUS
125 marks to consumers Defendants operate on eBay under the seller I.D
“bigdaddydivadl.” Through the eBay website, Defendants regularly and
systematically advertised, marketed, offered for sale, sold, and distributed
counterfeit fitness products bearing Plaintiff’s BEACHBODY and FOCUS T25
marks with payment processing through PayPal.com (“PayPal”). Investigation
into Defendants’ sales activity on eBay evidences hundreds of prior sales of
counterfeit BEACHBODY FOCUS T25 exercise kits and DVDs.

24. On January 14, 2014, Plaintiff purchased a purported FOCUS T25
exercise kit from Defendants under eBay seller “bigdaddydivadl” as offered for
sale by Defendants on eBay for a cost of 8134.99 charged to a PayPal electronic
payment account (Transaction ID #7P6657032P005241X). A true and correct
copy of the PayPal Transaction Details evidencing this transaction is attached
hereto as Exhibit G.

25. The FOCUS TZS®-branded product purchased from Defendants
under eBay seller “bigdaddydivadl” was received by Plaintiff (USPS Priority Mail
2-Day Tracking number 9405 5096 9993 7248 8290 35) and inspected by Plaintiff

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to determine authenticity. The inspection of the purchased item confirmed that the
item sold and distributed by Defendants under eBay seller ID “bigdaddydivadl”
was in fact a counterfeit and unauthorized BEACI-IBODY FOCUS T25 exercise kit
and DVDs.

26. On information and belief, Defendants sold counterfeit
BEACH`BODY products to numerous buyers residing within the State of
California and within the Central District of California, bearing Plaintiff’s
BEACH_BODY and FOCUS T25 marks,

27. By these sales - and, on information and belief, Defendants other
dealings in counterfeit product (including importing, advertising, displaying,
distributing, selling and/or offering to sell counterfeit and unauthorized product) ~
Defendants violate Plaintiff’s exclusive rights in its copyrighted material, and use
images and marks that are confusingly similar to, identical to, and/or constitute
counterfeit reproductions of Plaintiff’s trademarks to confuse consumers and aid in
the promotion and sales of its unauthorized product Defendants’ conduct and use
began long after Plaintiff"s adoption and use of its BEACHBODY and FOCUS
"[`25 trademarks, after Plaintiff obtained the copyright and trademark registrations
alleged above, and after Plaintiff"s marks became famous Indeed, Defendants had
knowledge of Plaintiff’s ownership of the marks, and of` the fame in such marks,
prior to the actions alleged herein, and adopted them in bad faith and with an intent
to cause confusion among consumers and dilute Plaintiff’s marks, Neither Plaintiff
nor any authorized agents have consented to Defendants’ use of Plaintiff’s
BEACHBODY or FOCUS T25 trademarks

28. Defendants’ actions were committed in bad faith and with the intent to
dilute Plaintist marks, and to cause confusion and mistake, and to deceive the
consuming public and the public at large as to the source, sponsorship and/or
affiliation of Defendants, and/or Defendants’ counterfeit and unauthorized goods.

By its wrongful conduct, Defendants have traded upon and diminished Plaintiff" s

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goodwill.

29. In committing these acts, Defendants have, among other things51
willfully and in bad faith committed the following, all of which have and will
continue to cause irreparable harm to Plaintiff: (i) infringed and diluted Plaintiffs
rights in the BEACHBODY and FOCUS T25 marks; (ii) infringed Plaintiff's
copyrights; (iii) applied counterfeit marks; (iv) misled the public into believing
there is an association or connection between Defendants and Plaintiff and/or the
products advertised and sold by Defendants and Plaintiff; (v) used false
designations of origin on or in connection with its goods and services; (vi)
committed unfair competition; (vii) and unfairly profited from such activity.
Unless enjoined, Defendants will continue to cause irreparable harm to Plaintiff.

FIRST CAUSE OF ACTION
(Infringement of Registered Trademarks Against Defendant DAVID
TRIPLETT, and DOES 1-10, Inclusive)
[15 U.S.C. §1114/Lanham Act §32(a)]

30. Plaintiff repeats and re-alleges every allegation set forth in Paragraphs
1-29.

31. Plaintiff has continuously used its BEACHBODY® and FOCUS
T25® marks in interstate commerce since at least as early as 1999, and 2013,
respectively

32. Plaintiff, as the owner of all right, title and interest in and to the
BEACHBODY and FOCUS T25 marks, has standing to maintain an action for
trademark infringement under the Trademark Statute 15 U.S.C. §1114.

33. Defendants are and at the time of their actions complained of herein
were actually aware that Plaintiff is the registered trademark holder of the
BEACHBODY and FOCUS T25 marks, See Exhibits A - F.

34. Defendants did not and failed to obtain the consent or authorization of

Plaintiff as the registered owner of the marks to deal in and commercially

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distribute, market and sell FOCUS 125 fitness DVDs and kits bearing Plaintiff’s
BEACHBODY and FOCUS 125 marks into the stream of commerce

35. Defendants intentionally and knowingly used in commerce the
reproductions, counterfeits, copies, and/ or colorable imitations of Plaintiff’s
registered marks in connection with the sale, offering for sale, distribution, or
advertising of Defendant’s goods by offering, advertising, promoting, retailing,
selling, and distributing counterfeit FOCUS 125 fitness DVDS and kits bearing the
FOCUS 125 and BEACI-IBODY marks

36. Defendants reproduced, counterfeited, copied, and colorably imitated
Plaintiff"s registered B_EACHBODY and FOCUS 125 marks and applied such
reproductions counterfeits, copies, or colorable imitations to labels, signs, prints,
packages, wrappers, receptacles and/or advertisements intended to be used in
commerce upon or in connection with the sale, offering for sale, distribution,
and/or advertising of goods Defendants thereupon offered, advertised, promoted,
retailed, sold, and distributed counterfeit FOCUS 125 fitness DVDS and kits
bearing the FOCUS 125 and BEACI-IBODY marks

37. Defendants’ egregious and intentional use and sale of fake, pirated
and counterfeit items bearing Plaintiff’s trademarks is likely to cause confusion, or
to cause mistake, or to deceive, mislead, betray, and defraud consumers who
believe that Defendants’ items are authentic products manufactured by Plaintiff.

38. Defendants’ acts have been committed with knowledge of Plaintiff.’s
exclusive rights and goodwill in the marks, as well as with bad faith and the intent
to cause confusion or to cause mistake and to deceive.

39. Plaintiff has suffered and will continue to suffer substantial and
irreparable injury, loss and damage to its rights in and to the BEACHBODY and
FOCUS 125 marks and the goodwill associated therewith, for which it has no
adequate remedy at law; thus Plaintiff requests injunctive relief.
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40. Defendants’ continued and knowing use of Plaintiff’s marks without
Plaintiff’s consent or authorization constitutes intentional infringement of
Plaintiff‘s federally registered trademarks in violation of Section 32 of the Lnnham
Act, 15 U.S.C. §1114. Based on such conduct, Plaintiff is entitled to injunctive
relief as well as monetary damages, and other remedies provided by section 1116,
1117, and 1118, including Defendants’ profits, treble damages reasonable
attorneys’ fees, costs and prejudgment interest.

SEC()ND CAUSE OF ACTION
(Federal Copyright Infringement Against Defendant DAVID TRIPLETT, and
DOES 1-10,1_nclusive)
[17 U.S.C. §501(a)]

41. Plaintiff repeats and re-alleges every allegation set forth in Paragraphs
1-40.

42. Plaintiff is the exclusive owner of copyrights in and related to its
BEACHBODY fitness DVDS and kits and possesses copyright registrations with
the United States Copyright Office relating to the same. Plaintiff presently has a
copyright application pending before the U.S. Copyright Office for copyright
registration of the entirety of the FOCUS 125 kit.

43. Defendants did not seek and failed to obtain Plaintiff’s consent or
authorization to utilize, manufacture, reproduce, copy, display, prepare derivative
works, distribute, sell, transfer, rent, perform, and/or market Plaintiff’s copyright-
protected materials

44. Without permission, Defendants intentionally and knowingly
reproduced, counterfeited, copied, displayed, and/or manufactured Plaintiff's
protected works by offering, advertising, promoting, retailing, selling, distributing
counterfeit FOCUS 125 fitness DVDs and kits which are at a minimum
substantially similar to Plaintiff’ s copyright protected works
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45. Defendants’ acts as alleged herein, constitute infringement of
Plaintiff"s copyright, including Plaintiff’s exclusive rights to reproduce, distribute
and/or sell such protected material.

46. Defendants’ knowing and intentional copyright infringement as
alleged herein has caused and will continue to cause substantial and irreparable
harm to Plaintiff and has and will continue to cause damage to Plaintiff. Plaintiff
is therefore entitled to injunctive relief, damages, Defendants’ profits, increased
damages, and reasonable attorney’s fees and costs

THIRD CAI_M} OF A_QT`ION
(False Designation of Origin & Unfair Competition Against Defendant
DAVID TRIPLETT, and DOES 1-10, Inclusive)
[15 U.S.C. §l 125(a)/Lanham Act §43(a)]

47. Plaintiff repeats and re»alleges every allegation set forth in Paragraphs
1'46.

48. Plaintiff, as the owner of all common law right, title, and interest in
and to the BEACHBODY and FOCUS 125 marks, has standing to maintain an
action for false designation of origin and unfair competition under the Federal
Trademark Statute, Lanham Act section 43(a) (15 U.S.C. §1125). Plaintiff’s
BEACHBODY and FOCUS 125 marks are inherently distinctive and/or have
acquired distinctiveness

49. Defendants have without authorization, on or in connection with its
goods and services, used in commerce marks that are confusingly similar to the
BEACHBODY and FOCUS 125 marks, and/or have made false designations of
origin which are likely to cause confusion or cause mistake or to deceive as to the
affiliation, connection or association of Defendants with Plaintiff, and/or as to the
origin, sponsorship or approval of Defendants’ goods or services or commercial
activities
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50. Defendants’ conduct described above violates the Lanham Act, and
Defendants have unfairly competed with and injured and, unless immediately
restrained, will continue to injure Plaintiff, causing damage to Plaintiff in an
amount to be determined at trial, and will cause irreparable injury to Plaintiff"s
goodwill and reputation associated with the value of Plaintiff’s mark.

51. On information and belief, the conduct of Defendants has been
knowing, deliberate, willful, intended to cause confusion, or to cause mistake or to
deceive and in blatant disregard of Plaintiff’s rights

52. Defendants knew or by the exercise of reasonable care should have
known that their adoption and commencement of use in commerce and continuing
use of marks that are confusingly similar to and constitute a counterfeit
reproduction of Plaintiff’s marks would cause confusion, mistake, or deception
among purchasers users and the public.

53. Defendants’ egregious and intentional use and sale of fake, pirated
and counterfeit items bearing Plaintiff"s trademarks unfairly competes with
Plaintiff and is likely to cause confusion, mistake, or to deceive, mislead, betray,
and defraud consumers to believe that the substandard imitations are genuine
FOCUS 125 DVDs or kits

54. Defendants’ continuing and knowing use of Plaintiff’s mark
constitutes false designation of origin and unfair competition in violation of
Section 43(a) of the Lanham Act, 15 U.S.C. §1125(a), causing Plaintiff to suffer
substantial and irreparable injury for which it has no adequate remedy at law.

55. Defendants’ wrongful conduct has permitted or will permit it to make
substantial sales and profits on the strength of Plaintiff"s marketing, advertising,
sales and consumer recognition As a direct and proximate result of Defendants’
wrongful conduct, as alleged herein, Plaintiff has been and will be deprived of
sales of its FOCUS 125 products in an amount as yet unknown but to be

determined at trial, and has been deprived and will be deprived of the value of its

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marks as commercial assets in an amount as yet unknown but to be determined at
trial. Plaintiff seeks an accounting of Defendants’ profits, and requests that the
Court grant Plaintiff three times that amount in the Court’s discretion

56. Based on Defendants’ wrongful conduct, Plaintiff is entitled to
injunctive relief as well as monetary damages, and other remedies as provided by
the Lanham Act, including Defendants’ profits, treble damages, reasonable
attomeys’ fees, costs and prejudgment interest.

FOURTH CAUS§ OF ACTION
(Dilution Against Defendant DAVID TRIPLETT, and DOES 1-10, Inclusive)
[15 U.S.C. §1125(c)]

57. Plaintiff repeats and re-alleges every allegation set forth in Paragraphs
1-56.

58. Plaintiff"s BEACHBODY® and FOCUS 125® marks are distinctive
and famous within the meaning of the Lanham Act.

59. Upon information and belief, Defendants’ unlawful actions began
long after Plaintiff’s mark became famous, and Defendants acted knowingly,
deliberately and willfully with the intent to trade on Plaintiff`s reputation and to
dilute Plaintiff’s mark. Defendants’ conduct is willful, wanton and egregious

60. Defendants’ intentional sale of fake, pirated and counterfeit items
bearing Plaintiff's marks is likely to cause confusion, mistake, or to deceive,
mislead, betray, and defraud consumers to believe that the substandard imitations
are genuine FOCUS 125 kits and DVDs. The actions of Defendants complained
of herein have diluted and will continue to dilute Plaintiff" s marks, and are likely to
impair the distinctiveness, strength and value of Plaintiff’s marks, and injure the
business reputation of Plaintiff and its marks

61. Defendants’ acts have caused and will continue to cause Plaintiff
irreparable harm. Plaintiff has no adequate remedy at law to compensate it fully

for the damages that have been caused and which will continue to be caused by

. 13 .
COMPLAINT FOR DAMAGES

 

 

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Defendants’ unlawful acts, unless they are enjoined by this Court.

62. As the acts alleged herein constitute a willful violation of section
43(0) of the Lanham Act, 15 U.S.C. section 1125(0), Piaintiff is entitled to
injunctive relief as well as monetary damages and other remedies provided by 15
U.S.C. §§1116, 1117, 1118, and 1125(c), including Defendants’ profits, treble
damages, reasonable attorney’s fees, costs and prejudgment interest

FIFTH CAUSE OF ACTION
(Unlawful, Unfair, Fraudulent Business Practices Against Defendant I)AVID
TRIPLETT, and DOES 1-10, Inclusive)
[California Business & Professions Code §1’7200 er seq.]

63. Plaintiff repeats and re-alleges every allegation set forth in Paragraphs
1-62.

64. By marketing, advertising, promoting, selling and/or otherwise
dealing in the counterfeit FOCUS 125 products Defendants have engaged in
unfair competition including unlawful, unfair and fraudulent business practices in
violation of the California Business and Professions Code §17200 er seq.

65. Defendants’ marketing, advertising, promoting, selling and/or
otherwise dealing in the counterfeit FOCUS 125 products is in violation and
derogation of Plaintiff’s rights and is likely to cause confusion, mistake and
deception among consumers and the public as to the source, origin, sponsorship, or
quality of the goods of Defendant, thereby causing loss, damage and injury to
Plaintiff and to the purchasing public. Defendants’ conduct was intended to cause
such loss, damage and injury.

66. Defendants knew or by the exercise of reasonable care should have
known that their marketing, advertising, promoting, selling and/or otherwise
dealing in and their continuing marketing, advertising, promoting, selling and/or
otherwise dealing in the counterfeit product would cause confusion mistake or

deception among purchasers users and the public.

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COMPLAINT FOR DAMAGES

 

 

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67. By marketing, advertising, promoting, selling and/or otherwise
dealing in and their continuing marketing, advertising, promoting, selling and/or
otherwise dealing in counterfeit versions of Plaintiff`s marks and products
Defendants intended to and did induce and intends to and will induce customers to
purchase its products by trading off the extensive goodwill built up by Plaintiff in
its marks

68. Upon information and belief, the conduct of Defendants has been
knowing, deliberate, willful, intended to cause confusion, or to cause mistake or to
deceive, and in disregard of Plaintiff’s rights

69. Defendants’ wrongful conduct, as alleged above, has permitted and
will permit them to make substantial sales and profits on the strength of Plaintiff’s
nationwide marketing, advertising, sales and consumer recognition As a direct
and proximate result of Defendants’ wrongful conduct, as alleged herein, Plaintiff
has been and will be deprived of substantial sales of its products in an amount as
yet unknown but to be determined at trial, and has been and will be deprived of the
value of its trademarks as commercial assets in an amount as yet unknown but to
be determined at trial. Plaintiff Seeks restitution in this matter, including an order
granting Defendants’ profits stemming from its infringing activity, and its actual
and/or compensatory damages

70. Plaintiff has no adequate remedy at law for Defendants’ continuing
violation of its rights set forth above Plaintiff seeks injunctive relief.

71. Plaintiff further requests a court order that an asset freeze or
constructive trust be imposed over all monies in Defendants’ possession which
rightfully belong to Plaintiff.
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SIXTH CAUSE OF ACTION
(Unfair Competition Against Defendant I)AVID TRIPLETT, and DOES 1-10,
Inclusive)
[California Common Law]

72. Plaintiff repeats and re-alleges every allegation set forth in Paragraphs
1-71.

73. By marketing, advertising, promoting, selling and/or otherwise
dealing in the counterfeit FOCUS 125 products Defendants have engaged in
unfair competition including unlawful, unfair and fraudulent business practices in
violation of the common law of the State of California.

74. Defendants’ marketing, advertising, promoting, selling and/or
otherwise dealing in the counterfeit FOCUS 125 products is in violation and
derogation of Plaintiff’s rights and is likely to cause confusion, mistake and
deception among consumers and the public as to the source, origin, sponsorship, or
quality of the goods of Defendant, thereby causing loss damage and injury to
Plaintiff and to the purchasing public. Defendants’ conduct was intended to cause
such loss damage and injury.

75. Defendants knew or by the exercise of reasonable care should have
known that their marketing, advertising, promoting, selling and/or otherwise
dealing in and their continuing marketing, advertising, promoting, selling and/or
otherwise dealing in the counterfeit product would cause confusion mistake or
deception among purchasers users and the public.

76. By marketing, advertising, promoting, selling and/or otherwise
dealing in and their continuing marketing, advertising, promoting, Selling and/or
otherwise dealing in counterfeit versions of Plaintiff’s marks and products
Defendants intended to and did induce and intends to and will induce customers to
purchase its products by trading off the extensive goodwill built up by Plaintiff in

its marks

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COMPLAINT FOR I)AMAGES

 

 

 

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77. Upon information and belief, the conduct of Defendants has been
knowing, deliberate, willful, intended to cause confusion, or to cause mistake or to
deceive, and in disregard of Plaintiff’s rights

78. Defendants’ wrongful conduct, as alleged above, has permitted and
will permit them to make substantial sales and profits on the strength of Plaintiff’s
nationwide marketing, advertising, sales and consumer recognition As a direct
and proximate result of Defendants’ wrongful conduct, as alleged herein, Plaintiff
has been and will be deprived of substantial sales of its products in an amount as
yet unknown but to be determined at trial, and has been and will be deprived of the
value of its trademarks as commercial assets in an amount as yet unknown but to
be determined at trial. Plaintiff seeks an order granting Defendants’ profits
stemming from its infringing activity, and its actual and/or compensatory damages

79. Plaintiff has no adequate remedy at law for Defendants’ continuing
violation of its rights set forth above Plaintiff seeks preliminary and permanent
injunctive relief.

80. Plaintiff seeks exemplary or punitive damages for Defendants’
intentional misconduct

WHEREFORE, Plaintiff BEACHBODY, LLC, prays for judgment against
Defendant DAVID TR_IPLETT, and DOES 1-10, inclusive, and each of them, as
follows:

A. For an award of Defendants’ profits and Plaintiff’s damages in an amount

to be proven at trial for trademark infringement under 15 U.S.C.
§1114(a);
B. For an award of Defendants’ profits and Plaintiff’s damages in an amount
to be proven at trial for copyright infringement under 17 U.S.C. §501(a);
C. For an award ofDefendants’ profits and Plaintiff"s damages in an amount
to be proven at trial for false designation of origin and unfair competition
under 15 U.S.C. §1125(a);

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COMPLAINT FOR DAMAGES

 

 

 

Case 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 18 of 44 Page |D #:31
1 D. For an award of Defendants’ profits and Plaintiff’ s damages in an amount
2 to be proven at trial for trademark dilution under 15 U.S.C. §1125(c);
3 E. ln the alternative to actual damages and Defendants’ profits for the
4 infringement and counterfeiting of Plaintiff s trademarks pursuant to the
5 Lanham Act, for statutory damages pursuant to 15 U.S.C. §1117(0),
6 which election Plaintiff will make prior to the rendering of final
7 judgment;
8 F. In the alternative to actual damages and Defendants’ profits pursuant to
9 17 U.S.C. §504(b), for statutory damages pursuant to 17 U.S.C. §504(0),
10 which election Plaintiff will make prior to the rendering of final
11 judgment;
12 G. For restitution in an amount to be proven at trial for unfair, fraudulent
13 and illegal business practices under Business and Professions Code
14 §17200;
15 H. F or damages to be proven at trial for common law unfair competition;
16 I. For an injunction by this Court prohibiting Defendants from engaging or
17 continuing to engage in the unlawful, unfair, or fraudulent business acts
18 or practices described herein, including the advertising and/or dealing in
19 any counterfeit product; the unauthorized use of any mark, copyright or
20 other intellectual property right of Plaintiff; acts of trademark
21 infringement or dilution; acts of copyright infringement; false designation
22 of origin; unfair competition; and any other act in derogation of
23 Plaintiff's rights
24 J. For an order from the Court requiring that Defendants provide complete
25 accountings and for equitable relief, including that Defendants disgorge
26 and return or pay their ill-gotten gains obtained from the illegal
27 transactions entered into and or pay restitution, including the amount of
23 monies that should have been paid if Defendants complied with their
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Plaintiff BEACHBODY, LLC, respectfully demands a trial by jury in this

action

DATED: April 23, 2014 JOHNSON & PHAM, LLP

. For an order from the Court that an asset freeze or constructive trust be

. For treble damages suffered by Plaintiff as a result of the willful and

. For damages in an amount to be proven at trial for unjust enrichment;

. For an award of exemplary or punitive damages in an amount to be

. For all costs of suit; and

legal obligations or as equity requires;

imposed over all monies and profits in Defendants’ possession which
rightfully belong to Plaintiff;

For destruction of the infringing articles in Defendants’ possession under
15 U.S.C. §1118 and 17 U.S.C. §503;

intentional infringements and acts of counterfeiting engaged in by
Defendants under 15 U.S.C. §1117(b);

determined by the Court;

For Plaintiff's reasonable attorney’s fees;

For such other and further relief as the Court may deem just and

equitable

DEMAND FOR JURY TRIA_L_

By: 7.7/#-_`/- 'J\
Christopher D. ]ohnson, Esq. \
Christopher Q. Pham, Esq.
Marcus F. Chaney, Esq.

Attorneys for Plainti
BEACHBODY, LLC

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COMPLAINT FOR DAMAGES

 

 

 

 

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Exhibit A

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United States Patent and Trademark Offtce u"?

FOCUS 125

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REQUI_REMENTS TO MAINTAIN YOUR FEDERAL
TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOW DURING 'I`HE SPECIFIED TIM'E PERlODS.

 

 

 

Requirements in the First 'l`en Years*
What and tho to File:

Frrsr F¢°h`ng Dendl¢`ne: You must tile a Declaration of Use [or Excusable Nonuse) between the
51h and ethyears alter the registration date See 15 U.S.C. §§1058, ll41k. If the declaration is
acceptcd, the registration will continue in force for the remainder of thc ten-ycarperiod, calculated
from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
federal court.

Seoond Fil‘ing Deadlr‘ne: You must tile a Declaration of` Use (or Excusable Nonuse) and an
Application for Renewal between the Bth and 10th years after the registration date.*
See 15 U.S.C. §1059.

Requirements in Successive 'Ien-Year Periods*
What and eren to File:

You must flle a Decla.ration of Usc (or Excusable Nonuse] and an Applicarion for Renewal between
every 9th and lOth-year period, calculated from the registration date_*

Graee Perlod Fillngs*

The above documents will be accepted as timely if nled within six months after the deadlines listed above
with die payment of an additional fee.

 

The United States Pa!ent and Trademark Gl’f`lce (USPTU} will NOT send you any future notice or
reminder of these filing requirements

 

 

 

*ATTENTlON MADR]D PROTOCOL REGlSTRA.NTS: The holder of an international registration with
an extension of protection to the United States under thc Madn`d Protocol must timely file the Dcclarations
of Use (or Excusablc Nol'u.tse) referenced above directly with the USPTO. The time periods for filing arc
based on the U.S. registration date (not the international registration date). The deadlines and grace periods
for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registratiore.
See 15 U.S.C. §§1058, 1 141k. However, owners ol' international registrations do not file renewal applications
at the USP‘IO. lmtcad, the holder must file a renewal of the underlying international registration at the
Intemational Bureau ofthe World Intellectual Property Organiration, under Anicle 7 of the Madnd Protocol,
before the expiration of each ten-year tenn of protection, calculated from the date of the international
registration See 15 U.S.C. §114lj. For more inl`onnation and renewal forms for-the mtemational registrationj
see littp‘.l'l'www.wipo.intfmadrldfenf.

NOTE: Fees and requirements for maintaining registrations arc subject to change Please check the
USPTO website for further information With the exception of renewal applications for registered
extensions of protection, you can tile the registration maintenance documents referenced above onlinc
at http:lfwww,uspto,gov.

Page:31R.N # 4,404,411

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EXhibit B

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REQUIREMEN'I`S 'I‘O MALNTAIN YOUR FEDERAL
'I'RADEMARK REGISTRA‘I`ION

WARN[NG: YOUR REGISTRATION WILI. BE CANCELLED [FYOU DO NOT FILE TBE
DOCUMEN'I`S BELOW DURING THE SPEClFIED TIME PERIODS.

 

 

 

Requirements in the First Tcu Ycars*
What and When to File:

first filing Denrt'!t‘ne: You must file a Declaration of U sc (or Excttsable Nonuse) between the
5th and 6111 years after the registration date, See 15 U.S.C. §§1058, lldik. ll` tire declaration is
accepted, the registration will continue in force for the remainder of the ten-year period, calculated
front the registration datc, unless cancelled by an order of the Cornrnissioner for Tradentarks or a
federal court

Second Fitr'ng Dendk`ne: You must tile a Declamtion of Use (or Enceusable Nonuse) and an
Application for Renewal between the 9t11 and lUth years after the registration date.*
See 15 U.S,C, §lt15'9_

Requiretncnts in Successive 'Ien-Ycar Pcriods*
Whal and When to File:

You must tile a Declaration of Use (or Excttsable Nenuse) and anApplication for Rertewal between
every 9th and lOth-year pcriod, calculated from the registration date.*l

Grace Period Filings*

The above documents will be accepted as timely if tiled within six months after the deadlines listed above
with the payment ol` an additional fcc.

 

The United States Patent and 'I`rademark Ofticc (USPTO) will NO'I‘ send you any future notice or
reminder of these filing ncquirements.

 

 

 

*ATTENTION MADRID PRUI‘OCOL REGISTRANTS: The holder of an utterrratiortal registration with
an extension of protection to the United States under the Madrid Protoco| must timelyl file the Dcclarations
ot` Use {or Excusable Nonuse) referenced above directly with the USP'IU. Ttte time periods l'or Dl.irtg are
based on the U.S. registration date (n.ot the international registration date). The deadlines and grace periods
for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations
See 15 U.S,C. §§1058, 114 lk. However, owners of intentational registrations do not file renewal applications
at the USP'[`O. lnstead, tl:te holder must tile a renewal of the underlying international registration at the
Internatiortnl Burcan of the World lntellectual Property Organizan`on, under Anicle 'l of tlte Madrid Protocol,
before th,c expiration of each ten-year tenn of protection__ calculated front tlte date of the international
registration See 15 U,S.C. §1141_i. Forrnore infomtationand renewal forms forthe international registration
see h.ttp:/Mvnv.wipo_int}rrtadridlen!,

NOTE: Fees and requirements for maintaining registrations are subject to change Please check the
USPTO website for further information With the exception of renewal applications for registered
extensions of pmtection,you can tile the registration maintenance documents referenced above online
at http:fhvww.uspto,gov.

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CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 28 of 44 Page |D #:41

Exhibit C

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 29 of 44 Page |D #:42

 

Int. Cls.: 5, 9 and 41
Prior U.S. Cls.: 6, 18, 21, 23, 26, 36, 38, 44, 46, 51, 52,
100, 101 and 107
. . Reg. No, 2,665,151
United States Patent and Trademark Office memo nw 24, 2002
'I`RADEMARK
SERVICE MARK
PR]NCIPAL REGISTER
BEACH BODY '

PRODIJCT PARTNBRS, LLc (cAt.tFonm'A LIM inner Use steward IN commence s10-1999.
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3340 oanN PARKWAY BLVD., _sUITE soto

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MENIS, lN cLAss s (u.s. cLs. 6, rs, 44, 46, sr ann .

523.

Flttsr USE 5101999;11~1 commence 5-1d1999.

FIRSr USE stole99; lN COMMERCE 5-101999. _

FOR: PRE-RECORED VIDBO CASSE'ITES FEA- SER. NO. ?6-046,578. FI`LED 3-1'?-20(1].
TURING EXERClSE. FlTNE‘SS AND D!EI`ARY IN-
FORMATION AND INSTRUC}`ION, IN CLASS 9
{U.S. CLS. 21. 23, 26, 36 AND 33]. JEFF DEFORD, EXAMINING ATT‘ORNEY

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 30 of 44 Page |D #:43

Exhibit D

Int. Cls.: 5, 9 and 41

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 31 of 44 Page |D #:44

Prior U.S. Cls.: 6, 18, 21, 23, 26, 36, 38, 44, 46, 51, 52,

100, 101 and 107

 

Reg. No. 2,853,244
United States Patent and Trademark Ofl`ice negligeer anne 15,2004
TRADEMARK
SERVICE NIARK
PRINCIPAL REGISTER

 

PRODUCT PARTNERS, LLC (CALIFORNIA L!M-
ITED LIABILITY CORPORATION]

8383 WH_SHIRE BOULEVARD

SUITE 1050

BEVERLY HILLS, CA 90211

FOR: MEAL REPLACEMENT PROTE]N BARS,
DIETARY SUPPLEM ENTS AND DIET AIDS, NAME-
LY V`ITAMINS AND M]NERAL SUPPLEMENTS, IN
CLASS 5 [U.S. CI.S. 6, 18, 44, 46. 51 AND 52),

FIRST USE 6-0-2003; IN COM.MERCE 6-0-2003.

FOR: PRE-RECORDED VIDEO TAPES, DVDS,
AND CDS, FEATURING EXERCISE, FlTNESS

AND DIETARY INFURMATION AND TNSTRUC-
TION, IN CLASS 9 (U,S. CLS. 21, 23, 26, 36 AND 38),

FIRST USE 6-0-2003; IN COM.MERCE 6-0-2003.

FOR: EDUCA'I`IONAL SERVICES, NAMELY IN-
STRUCTION IN THE FIELDS OF EXERCISE EQUIP»
MENT AND DIET PROGRAMS, IN CI_-ASS 41 (U,S.
CLS. 100, 101 AN`D 107).

FI_RST USE 6-0-2003; I}.\' OOMMERCE 6-0-2003.

SER. 1\'0. 76-529,?51, FI.LED T-l4-20'03.

MARC LE]`PZ[G, EXAMINZNG ATTORNEY

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 32 of 44 Page |D #:45

Exhibit E

CaSe 2:14-cV-O315O-ODW-.]CG Document 1 Filed O4/24/14 Page 33 of 44 Page |D #:46

Int. Cls.: 5, 9 and 41
Prior U.S. Cls.: 6, 18, 21, 23, 26, 36, 38, 44, 46, 51, 52,

100, 101 and 107
Reg. No. 2,362,904
United States Patent and Trademark Ofl`ice registered ray 13,2004

TRADEMARK
SERVICE MARK
PRINC]PAL REGISTER

BEACI'[BODY

PRODUCT PARTNERS, LLC (CALIFORNIA LIM- FIRST USE 5-10-1999; IN OOMMERCE 5-10-1999,
ITED LIABILITY CORPORATION)

8383 W]LSH]RE BOULEVARD SUITE 1050 ,
BEVERLY HILLS, CA 902“ FOR` EDUCATIONAL SERVICES, NAMELY 11\-

srnucrroN IN ran FtELDs 01= nxnnctss EQUtP-
MENT FITNESS Exnncrsn AND Dtn'r At.\'D
FOR; MEAL REPLACEMENT PROTEIN sAns, ’ ’
DIETARY sUPPLEMnN'I‘s AND DIET AIDs, NAME- H§H§§ I;DRTOGRM[S » IN CI~ASS 41 (U~S CLS‘
LY vrrAMrNs AND MINERAL suPPLnMENTs, IN 3 )'
Ct_Ass s (u.s. cLs. 6, 13,44, 4a 51 AND sz).
Fnis'r Use 5-10_1999; rN coMMERcF. 5-10-1999.
Frns'r use 510-1999; rN commence 5-10-1999.
Fon: PRF.-RECORDED vtDEo TAPEs, cna OWNER OF U'S' REG' NO` 2’565’1§ 1'
sETrns, DvDs, AND cos, FEATURING nxnncrse, _
Fm~tnss AND DIETARY INFORMAHON AND SER- F\O- 73'230»321 FU~ED 7'29‘2003-
ms'rnucnoN, IN cLAss 9(U.s. cLs. 21, 23, 26, 36
AND 33). MARC LEth:lG, EXAMINING ATTORNEY

CaSe 2:14-cV-O315O-ODW-.]CG Document 1 Filed O4/24/14 Page 34 of 44 Page |D #:47

Exhibit F

CaSe 2:14-cV-O315O-ODW-.]CG Document 1 Filed O4/24/14 Page 35 of 44 Page |D #:48

Int. Cls.: 5, 9 and 41
Prior U.S. Cls.: 6, 18, 21, 23, 26, 36, 38, 44, 46, 51, 52,

100, 101 and 107
Reg. No. 2,873,866
United States Patent and Trademark Office treatmer Aug. 11,2004

TRADEMARK
SERVICE MARK
PRINCIPAL REGISTER

e'BEACt-lBDDY

PRODUCT PARTNERS, LLC (CALIFORNlA LIM- FIRST USE 6-0-2003;11"~1 COMMERCE 6-0-2003.
ITED LIABILITY CORPORATION)

8383 WILSHIRE BOULEVARD, SUITE 1050 _
BEVERLY H_-[LLS, CA 90211 FOR. EDUCATIONAL SERVICES, NAMELY IN-

sTRuCHoN n\-' THE FIELr)s or Bxenctst=. EQUIP-
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Dn=.'rAnY sUPPLEMENTs AND DIET AIDS, NAME- - » 7)~
LY vrrAMrNs AND mNERAL sUPPt_.F.MENrS, IN
anss 5 (U.s. ct.s. 6, ts, 44, 46, sr ANI) 523. Frrts'r usn so-zoos; n~: commence so-zoos.

FIRST USE 6-0-2003; I`N COMMER.CE 6-0-2003. OWNER OF U_S_ REG1 NO_ 23655,151_

Fon; Pnn_nncoRDt-:o vn:)Eo 'rAPEs, Dvr)s,

AND cns, FEATURING axencrsn, Fm~tnss SER-NO- 76'529»`*'64»1"11‘59 7'14“2993-
AND DIETARY INFORMATION AND nts'rnuc_

noN, rN cLAss 9 ru.s. cLs. zr, 23, 26, 35 ann ss), MARC LEthlG, EXAMINING ATTORNEY

CaSe 2:14-cV-O315O-ODW-.]CG Document 1 Filed O4/24/14 Page 36 of 44 Page |D #:49

EXhibit G

1,14,14€389 2:14-cV-O315O-ODW-.]CG Dociig]otgtgige Fal§ilgtdeggls/ME/AA Page 37 0144 Page 1D #:50

Transaction Details

Express Checkout Payment Sent (Unique Transaction |D #7P6657032P005241X)

Ot'tgmal Transactton

 

Statue

 

 

 

 

 

Amount

 

 

Date Type Detail5
Jan 14, 2014 Payn'tent To Det~'id Trip19t1 Comp|eted -$134. 99 USD
l Re|ated Transaction
5 Date Type 1 Status § Details ‘| Arnount §
Jan 14, 2014 Add Funds from a Bank Aecount 1 ijng|_eteq 1 Details l $134. 99 USD
Shoppirrg Cart Conta nts
Qty ltem Optione Price
Shaun T T25 A|pha Beta & Gamma Workoute
1 Comp|ete Ful| Set T 25 Weight Loss D\!Ds $134.99 USD
item # 221354352505
Amount $134.99 USD

Shopping Cart
$134.99 USD

Order Deseription:
item Total:
Sales Tax:
$0.00 USD
$0,00 USD

Shippirrg:
Seller discount or eharges:

-$'134.99 USD

$0.00 USD
-$134.99 USD
Jan14.2014

17:42:36 PST
Cornp|eted

Tota| amount:

Fee amount:
Net amount:
Date:

Time:
Status:

Insurance: $0.01] USD

See Jay

22647 Verttura B|vd

# 1007

Woodiand Hi|1s, CA 91364-1416
United States

Com"rrmed g

Shipping Address:

David Trip|ett (The recipient of this payment is Veril'led)
bigdaddydivad1

Payment To:

Se|ler's lD:
hups:!!www .paypa1.comiust'cgi-binlwebscr?cmd=

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Umpase 2:14-cV-03150-ODW-.]CG Doq;!,y;g.e.m,g;\e HEJJ§Q)MZA{M Page 38 0144 Page 1D #:51

Sel|er's Emai|: meetdtrip@gmai|.com

Fundtng Type: lnstant Transfer
Funding Source; $134.99 USD - J.P. MORGAN CHASE BANK, N.A. Checl<ing (Coniirmed) x-2?85
Back Up Funding Source; MasterCarcl Credit Card XXXX-XXXX-XXXX-4844

Description: Shopping Cart

Need help? ifyou have problems with an eBay transaction or want help settling a dispute with an eBay seller,
go to the §E§y Rg§o|u§ien genter. PavPal and eBay strongly recommend that you attempt to resolve issues
directly with the seller whenever possib|e.

 

htrpsu'lwww.paypal.comfusi'cgi~binfwebscr'?cmh_history-details&ini`o=AEczR-4'1’FH-Aek-UEMSci81J8i|RManuMBFvhxwEXLYymCyerSSlepOa&ptype=¢i&... 212

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 39 0144 Page 1D #:52

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATE.S ]UDGES

This case has been assigned to District lodge Otis D. Wright ll and to
Magistrate ludge lav C. Gandhi

'l"he case number on all documents filed With the Court should read as follows:

2:14~Cv-03150 ODW-ICGX

Pursuant to General Order 05-1)7 ofthe United States District Court for the Central District of
Califoi'nia, the assigned Magistrate ]udge has been designated to hear discovely~related
motions All discovery-related motions should be noticed on the calendar of the Magistrate

 

 

 

judge
Clerk, U. S. District Court
April 24, 2014 By SBOURGEOIS
Date Deputy Clerk
ATTENTION

A copy oftln's Notice must be served on ali parties served With the Summons and Complaint (or, in cases
removed from state courtJ on all parties served with the Notice of Removal ) by the party whofiled the
Compldint (or Notz`ce ofRemovdl).

 

if\"- 111 11141141 N()TlCli Ol" ASSIGNMENT T() UNITEI) S'[`A'I`ES ]UDGF.S

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 40 0144 Page 1D #:53

AO 440 (Rev. 06112) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

for the

Central District of California

BEACHBODY LLC, a De|aware Limited Liability
Company,

 

P!ar'mr;j"(s)
V.

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)
§ Civil Action No.
DAVlD TR|PLETT, an |ncllvidua|; and DOES 1-10, c
)
)

1114-3150 O\Ot\/'$CG>X

|nc|usive,

Defendant(.s)

SUMMONS IN A CIVIL ACTION

TO¢ (Defendam’sname andaddressd Dav1d Tripleii
2114 Rosewood Ct.
Char|eston, 1L 61920-3710

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -~ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Marcus F. Chaney, Esq.

Johnson & Pham, LLP

6355 Topanga Canyon B|vd., Suite 326
Wood|and 1-11||sl California 91367

Tel: (8‘18) 888-7540

Fax: (8'18) 888-7544

lf you fail to respond, judgment by default Will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion With the court.

AFR 24 2014

Date:

 

 

ORlGlNAL

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 41 0144 Page 1D #:54

AO 440 (Rev. 06/12) Summons in a Civil Aciion (Page 2)
Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Cr'v. P. 4 (l))

ThlS St.lmmOt‘lS fOr (rzame of individual and ritle, if any)

 

was received by me on (dare)

Date:

13 1 personally served the summons on the individual at (p!ace)

 

 

011 (da'te) ; 01`

111 l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

111 l served the summons on (name ofindr'vidaal) , who is

 

designated by law to accept service of process on behalf of (name aforganizmian)

 

 

 

01`1 (a'a!e) ; 01`
13 I returned the summons unexecuted because ; or
l:l Olih€t‘ (speci_'fv):
My fees are $ for travel and $ for services, for a total of $ 0_00

1 declare under penalty of perjury that this information is true.

 

Server ’s signature

 

Printed name and title

 

Server 's address

Additional information regarding attempted service, etc:

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed 04/24/14 Page 42 0144 Page iD #:55
uNiTEo sTATEs olsTRlcT couRT, cEN'rRAL oisTRicT 0F cALlFoRNlA
civchovER sHEET

|. (a) FLA!NT|FFS ( Check box if you are representing yourself 1:1 ) DEFENDANTS

 

(Check box if you are representing yourself 1:1 )

BEACHBODY. LLC, a Delaware Limited Liabiiity Company DAV|D TR|PLE`[`I', an individual

 

1b1 County of Residence of First Listed Plaintiff LOS Angeles Co|es

(EXCEPT1N U.S. PLAiNT1FF CASES)

County of Residence of First Listed Defendant
rrN u.s. PrAanFF CASES oNt Y)

 

(c] Attorneys [Firm Narne, Address and Telephone Nurnberl |f you are
representing yourself, provide the same informationl

JOHNSON 81 PHAM, LLP

6355 Topanga Canyon Sivd., Suite 326

Wood|and Hillsr California 91367

TeI: (818) 883-7540

ll. BAS|S OF JURISD|CT|ON (Piace an X in cna box only.)

Attorneys 1Fr'rm Nome, Address and Teiephone Numberl if you are
representing yourse|f, provide the same informationl

 

 

ll|. C|TIZENSH|F OF PR|NC|PAL PART|ES-For Diversity Cases On|y
(Piace an X in one box for plaintiff and one for defendant}

_ PTF DEF . . 1 l PTF DEF
1. U.S.Government 3.Federa| Question (U.S. szen anhme 1:1 1 [:1 1 10€9113_0131€13101_1’1'"€'93 pace 1:1 4 1:1 q
Plaintiff Government Not a Party) °fBus'“ess '" ti“s Staie

CitizenofAnotherState |:1 2 1:| 2 incorporatedand PrincipalPiace [:1 5 El 5
h of Business in Another State

2. U.S. Governrnent 1:1 4. Diversity (1ndicate Citizens ip Cirizen or Subject of a . .

- _ Forel n Nation 6 6
Defendant of Partiesin|tem 111) Forelgn Country 13 3 1:1 3 g 1:1 1:1

 

|V. ORlGlN (P|ace an X in one box on|y.)
'1.0' ' | 2.R di
rigina |:| emove rom |:]

Proceeding State Court

6.1\"10111~

3. Remanded from District

4. Reinstated or
Reopened

5. Transferreci from Another
District [Specifyl

§ 1:1 ij

Appe|i,?te Court

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Litigation

 

v.'nEouEs'rEolNcoMPLAiNT=JunYoEMANo`; lves [\ No ichecl<"Yes"onlyifdemand@dinCOmplaim->

[:1 MONEY DEMAN DED IN COM PLAINT: $
Vl. CAUSE OF ACT|ON (Cite the U.S. Civii Statute under Which you are filing and write a brief statement of cause. 00 not cite]urisdictionai statutes unless diversity.]

CLASS ACTION under F.R.Cv.P. 23:

|:1Yes No

Federa| Trademark infringement 115 U.S.C. section 1 1 111/Lanham Act section 32[a)) / Federa| Copyright infringement 117 U.S.C. section 5011a))

 

Vil. NATURE OF SUlT (P|ace an X in one box on|y].

 

 

1. iOTHERSTATUTES CONTRACT' REAL PROPERTY CONT. lMMlGHATlON PRISONER PETlTlONS PROPERTY RlGHTS
1:1 375 Fa,se C|aims Act 1:1 110 insurance 11 240 Torts to Land m 362111:;11:112&)110¢1 Habeas corpus; 1:1 320 Copyrigms
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mo mei xc ange 1:1 Overpayrnent of 1:1 Liabimy USC 155 625 Drug Re|ated [:| 871 |RS-Third Party 26 USC
|-_~| 890 Other Statutory VEi.BEnEflIS 423 Withdrawa|zg 1:1 Seizure of Property 21 7609
nations . g 350 norm vehicle 1:1 Ug,g usc ssi
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FOR OFF|CE USE ONLY:

Case Number:

 

CV-71(‘111'13}

ClVlL COVER SHEET

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Page 1 013

CaSe 2:14-cV-03150-ODW-.]CG Document 1 Filed O4/24/14 Page 43 0144 Page iD #:56

UN|TED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CAL|FORN|A
ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned This initial assignment
is subject to changel in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Question A: Was this case removed from STATE CASE WAS PEND]NG iN THE COUNTY OF: |NlTlAL DlV|SlON lN CACD l5:
state court?
[:] Yes |E No jj Los Angeles Western
|f"no, " go to Question B. if "yes." check the |:| Ventura, Santa Barbara, or San Luis Obispo Western
box to the right that applies, enter the
corresponding division in response to |:| Orange Southern
Question D, below, and skip to Section iX. E
|:l Riverside or San Bernardino astern
.Questlnn.s: ls the united states' m one of ' l ' |fthe United'$taltes,`or one of its agencies or employees is a'par'ty, is iti `- " ` ' `
lts agencles or employees, a party to this -
action1 ' lNlTlAL
A PLA|NT|FF? A DEFENDANT? _ DiVISlDN lN
, CACD lS:
Y N
l:l es El 0 Then check the box below for the county in Then check the box below for the county in
which the majority of DEFENDANTS reside. which the majority of FLNNT|FFS reside.
if"no, " go to Question C. if "yes." check the l:l l-QS Angel€$ jj l-OS Angele$ 71 WESI€m
box to the r_'ght t_h_at_ applles' enter me 1:1 Ventura. Santa Barbaral or San Luis m \"entural Santa liarbaral or San Luis Westem
:)orre:;pon[t)jirl;glclivisiorctl lnkrestposnse`lto |X Obispo Obispo
ueston , eow,an si o ecion . .
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|:j Fiiversidep`r §an Bernardino [:| Riverside or San Bernardino Eastern
[:j Other |:] Other Western
- t " ' . ' A. _ 7 B. ' . C.'-`~ ~ D. ‘ ` E. _F.
plalht?#;s;le';::é:::$l:l;:::1{1111‘11,_.7 Los Ange_ies Ventura, Santa Barbara. or Orange Courtty ' Riverside or San l Outside the Centrai _ _ Other
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indicate the`|ocation in which a l
majority of plaintiffs reside.~ l:l l:l l:l l___l l:l
indicate the location in which a
majority of defendants reside: E:l g m E l:l
indicate the location in which a
majority of claims arose: l:l l:l _ l:l l:l l:l

 

C.1. is either of the following true'i ii so, check the one that applies:

[:| 2 or more answers in Column C

1:| only 1 answer in Column C and no answers in Column D

Your case will initially be assigned to the
SOUTHERN D|V|SlON.
Enter "Southern" in response to Question DJ below.

if none applies, answer question C2 to the right. _»

 

C.2. ls either of the following true? li sol check the one that applies:

|:| 2 or more answers in Co|umn D

|:l only 1 answer in Co|umn 0 and no answers in Column C

Your case will initially be assigned to the
EASTERN DiViS|ON.
Enter "Eastern" in response to Question D. below.

ll none applies. go to the box below. |,

 

Your case will initially be assigned to the
WESTERN DiViS|ON.
Enter "Western" in response to Quesrion D beiow.

 

 

 

Question iJ: initial Pivislon?

|NlTlAL D|Vl$lON lN CACD

 

Enter the initial division determined by Ouestion A, B, or C above: q

 

 

Western

 

 

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ClVlL COVER SHEET
lX(a]. lDENT|CAL CASES: Has this action been previously filed in this court and dismissedr remanded or ciosed? NO |:] YES
if yes, list case number(s):
lX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO |:l YES

if yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

lcheck all boxes that applyl |:| A. Arise from the same or closely related transactions, happeningsl or events; or

l:___| B. Call for determination of the same or substantially related or similar questions of law and fact; or
|:| C. For other reasons would entail substantial duplication of labor if heard by different judges,' or

I::] D. involve the same patent, trademark or copyright and one of the factors identified above in a, b or c also is present.

 

X.S|GNATUREOFATTORNEY 7`7/,,..---__-/ L»\ DATE A .|23 2014
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lOR SELF-REPRESENTED L!TiGANT)j -

 

 
 
   
  

Notlce to counsel/Partles: The CV-7i 115-44) Civil Cover Sheet and the information contained herein neither repia
other papers as required by lav\r. This formf approved by the _iudicia| Conferen£e of the United States in September'|
but is used by the Clerk of the Court for the purpose of statistics'. venue and initiating the civil docket sheet. (For more

nor supplement the filing and service of pleadings or
4, is required pursuant to Local Ruie 3-1 is not filed
tal|ed instructions see separate instructions sheet).

 

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Key to Statistica| codes relating to Social Security Cases: l ' \ommm/
Nattrre of Suit Code Abbreviation Substantlve Statement of Cause

Al| claims for health insurance benefits (Niedicare) under Title 18, Part A, of the Social Security Act. as amended Also.
561 HlA include claims by hospitals. skilled nursing facilities, etc., for certification as providers of services under the program
(42 U.S.C. 1935FFlb))

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coa| Mine Health and Safeiy Act of 1969. (30 U.S.C.
923l
863 D|WC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus

all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 [g))

863 D|WW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amendedl l42 U.S.C. 405 lgl)

864 SS1D All claims for supplemental security income payments based upon disability filed under Title 16 of the Soclal Security Act, as
amended
365 RS| All claims for retirement loid age] and survivors benefits underTitle 2 of the Socia| Security Act. as amendedl

(42 U.S.C. 405 lgll

 

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